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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MYA BATTON, AARON BOLTON,                         )   Case No. 1:21-cv-00430
 MICHAEL BRACE, DO YEON IRENE KIM,                 )
 ANNA JAMES, JAMES MULLIS, DANIEL                  )   Honorable Andrea R. Wood
 PARSONS, and THEODORE BISBICOS,                   )
 individually and on behalf of all others          )
 similarly situated,                               )
                                                   )
                         Plaintiffs,               )
                                                   )
         v.                                        )
                                                   )
 THE NATIONAL ASSOCIATION OF                       )
 REALTORS, ANYWHERE REAL ESTATE,                   )
 INC., RE/MAX LLC, and KELLER                      )
 WILLIAMS REALTY, INC.,                            )
                                                   )
                         Defendants.
                                                   )

                                       JOINT STATUS REPORT

        Pursuant to the Court’s February 28, 2024 order (ECF No. 128), Plaintiffs Mya Batton,

Aaron Bolton, Michael Brace, Do Yeon Irene Kim, Anna James, James Mullis, Daniel Parsons,

and Theodore Bisbicos (“Plaintiffs”), by and through their undersigned attorneys, and Defendants

the National Association of Realtors (“NAR”), Anywhere Real Estate Inc. (f/k/a Realogy Holdings

Corp.) (“Anywhere”), RE/MAX, LLC (“RMLLC”), and Keller Williams Realty, Inc. (“Keller

Williams”) (collectively, “Defendants”), by and through their undersigned attorneys, respectfully

submit this joint status report.

I.      PENDING MOTIONS

        On April 15, 2024, Defendants Anywhere, RMLLC, and Keller Williams filed motions to

dismiss for lack of personal jurisdiction. The Court has not yet set the briefing schedule for these

motions. Plaintiffs request for their oppositions to be due May 30, 2024, which is the same day
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Plaintiffs’ oppositions are due in Batton, et al. v. Compass, Inc., et al., No. 1:23-cv-15618

(N.D. Ill.). Defendants do not object to Plaintiffs’ request. The parties will meet and confer

regarding the deadline for moving Defendants’ replies and will be prepared to report on that at the

upcoming May 7, 2024 status conference.

 II.      INITIAL DISCOVERY AND RE-PRODUCTION OF DOCUMENTS IN RELATED
          ACTIONS

          On April 15, 2024, Defendants served Plaintiffs their Initial Disclosures, as directed by the

Court. Anywhere also produced documents in conjunction with their Initial Disclosures. The

parties met and conferred on April 17, 2024 regarding the scope of initial discovery and Plaintiffs’

articulated desire for re-production in this case of the documents that have already been produced

in other matters. Plaintiffs served their first set of requests for production of documents on April

19, 2024. On April 25, 2024, NAR provided Plaintiffs with the requests for production it received

and its responses and objections in Moehrl, et al. v. National Association of Realtors et. al.,

No. 1:19-cv-01610 (N.D. Ill.) (“Moehrl”), and Sitzer, et al., v. National Association of Realtors, et

al., No. 4:19-cv-00332 (W.D. Mo) (“Sitzer”). The non-NAR Defendants provided Plaintiffs with

the Moehrl, Sitzer, and Nosalek v. MLS Property Information Network, Inc. et al., No. 1:20-cv-

12244 (D. Mass.), requests for production they received and their responses and objections to the

same on April 26, 2024. The parties continue to meet and confer concerning discovery, including

Plaintiffs’ request for re-production of the discovery that has been produced by the Defendants in

the above matters, and will further update the Court on their progress at the May 7, 2024 status

conference.

III.      CONFIDENTIALITY ORDER

          The parties have exchanged a draft of a confidentiality order and they are meeting and

conferring in an attempt to reach agreement. The parties will provide the Court a further update



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of their progress on an agreed upon confidentiality order, or the scope of any disputes, at the May 7,

2024 status conference.

IV.     CASE SCHEDULE

       Plaintiffs and Defendants propose the following case schedule for the outstanding

deadlines:

 Substantial completion of production of December 20, 2024
 documents responsive to requests for
 production.

 Plaintiffs to file their motion for class June 20, 2025
 certification and supporting expert reports.

 Defendants to file their responses to September 19, 2025
 Plaintiffs’ class certification motion and
 supporting expert reports, and Daubert
 motions directed to Plaintiffs’ class
 certification experts.

 Plaintiffs to file their reply in support of class November 19, 2025
 certification and supporting rebuttal expert
 reports, responses to Defendants’ Daubert
 motions       regarding       Plaintiffs’    class
 certification experts, and Daubert motions
 regarding Defendants’ class certification
 experts.

 Defendants to file their replies in support of January 19, 2026
 their Daubert motions regarding Plaintiff’s
 class certification experts and responses to
 Plaintiffs’ Daubert motions regarding
 Defendants’ class certification experts.

 Plaintiffs to file their replies in support of March 2, 2026
 their Daubert motions.

 Completion of fact discovery.                    May 2, 2026


Dated: April 26, 2024                            Respectfully submitted,

                                                  /s/ Randall P. Ewing, Jr.
                                                  Randall P. Ewing, Jr. (Ill. Bar No. 6294238)


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Dated: April 26, 2024                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2024, I caused a true and correct copy of the foregoing to

be served upon counsel of record as of this date by electronic filing.

                                                /s/ Randall P. Ewing, Jr.
                                                Randall P. Ewing, Jr. (Ill. Bar No. 6294238)




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